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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                  MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION

    THIS DOCUMENT RELATES TO
    ALL CASES

  REPLY IN SUPPORT OF THE PLAINTIFFS’ STEERING COMMITTEE’S
    MOTION TO QUASH OR FOR PROTECTIVE ORDER REGARDING
               SUBPOENA DIRECTED AT KCIC, LLC

        Pursuant to Federal Rules of Civil Procedure 45(d) and 26(c), Plaintiffs, by

  and through Plaintiffs’ Steering Committee (“PSC”), submit this Reply in support

  of their Motion to Quash or for Protective Order Regarding Subpoena served by

  Defendants Johnson & Johnson and LTL Management LLC (collectively,

  “Defendants”) on non-party KCIC, LLC on December 19, 2023.

                                 INTRODUCTION

        This Court need not look beyond Defendants’ introduction to ascertain the

  true purpose behind this abusive subpoena—to further argue their motion to

  disqualify Plaintiffs’ counsel, Mr. Andy Birchfield and the Beasley Allen Law Firm.

  See ECF No. 28920 at 1 (“These undisputed facts clearly demonstrate that Birchfield

  and Beasley Allen should be disqualified from this litigation.”); Id. at 2 (“the

  Conlan-Beasley plan”); Id. at 3 (“the side-switching problem underlying J&J’s

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  Motion”). Defendants’ response is littered with unsupported allegations of

  misconduct by Mr. Birchfield, Beasley Allen, Mr. James Conlan, and Legacy

  Liability Solutions, couched as foregone conclusions beyond dispute. See ECF No.

  28920 at 9 (stating that their theory of relevance is “to determine the extent to which

  its confidences have been improperly shared”); (stating that the subpoena is “plainly

  relevant to whether these proceedings can fairly proceed with J&J’s confidential

  information in the hands of its litigation adversaries.”). Yet, they offer no factual

  basis for their attacks on counsel or for third parties who have no involvement in this

  MDL. Defendants’ claims have no merit.

        Defendants fail to present any legitimate response as to how their intrusive

  requests are relevant to this litigation or represent anything other than a fishing

  expedition. That is because they cannot. Tellingly, when the parties met and

  conferred on January 4, 2024, counsel for Defendants argued that they were entitled

  to the subpoenaed information because it might be relevant to assessing damages

  and liability related to the MDL ovarian cancer cases—essentially admitting that

  they were seeking information about representatives of the LTL Committee of Talc

  Claimants’ (“TCC”) opinions regarding the value and strength of ovarian cancer

  clients’ cases. Plaintiffs correctly countered that assuming such information existed,

  it would not be admissible under Federal Rule of Evidence 408. In their Opposition,

  Defendants completely abandon that argument and instead argue that the


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  information is sought “solely to determine the extent to which its confidences have

  been improperly shared.” ECF No. 28920 at 9. Defendants’ vague argument makes

  clear that this is nothing more than a fishing expedition and a blatant attempt to

  further Defendants’ meritless disqualification motion. The evidence in the record—

  sworn declarations from both Mr. Conlan and Mr. Birchfield—establishes that no

  purported “confidences” belonging to Defendants were conveyed by Mr. Conlan to

  Mr. Birchfield. See ECF Nos. 28826-2, 28826-3, 28826-4.

        While Defendants offer pure speculation, one thing is certain: allowing these

  abusive discovery tactics to proceed will unnecessarily harm Plaintiffs in this MDL,

  as well as others who are not parties to this litigation, by disclosing their confidences.

  The law is clear: although “the scope of discovery is broad, it is not unlimited and

  should not serve as a fishing expedition.” Hashem v. Hunterdon Cnty., 2017 WL

  2215122, at *2 (D.N.J. May 18, 2017). Because the information sought by the

  subpoena is both irrelevant and inadmissible in this MDL, and implicates protected

  communications exchanged in furtherance of mediation in the LTL bankruptcy

  proceeding, this Court should grant the PSC’s motion to quash, or in the alternative,

  motion for protective order.1



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    The PSC strongly contests the insinuation that it interfered or in any way behaved
  inappropriately with respect to non-party KCIC. The PSC simply sent KCIC a copy
  of the PSC’s objections. KCIC’s actions thereafter, including serving its own
  objections, were its own.

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                                     ARGUMENT

     1. The PSC sufficiently established that the subpoena seeks confidential,
        privileged information, prepared and exchanged in a separate
        proceeding, and protected by the mediation privilege and common law
        principles of settlement confidentiality.

        As the PSC’s Motion explains, the subpoena directed at KCIC requires

  disclosure of privileged, confidential information. Defendants seek to hold the PSC

  to a higher standard for invoking privilege than the law requires. They rely on United

  States v. O’Neill for the principle that “[t]he Third Circuit has expressly rejected

  ‘broadside invocation[s] of privilege’ where they ‘fail[] to designate with

  particularity the specific documents . . . to which [a] claim of privilege applies[s].”

  ECF No. 28920 at 9 (quoting United States v. O’Neill, 619 F.2d 222, 225 (3d. Cir.

  1980)). But O’Neill is inapplicable, as it primarily concerned the executive privilege.

  The executive privilege is properly invoked only when certain requirements are

  satisfied, including “a specific designation and description of the documents claimed

  to be privileged.” 619 F.2d at 226 (internal citations and quotations omitted). There,

  the executive privilege was invoked orally, by someone other than the department

  head, there was no indication that the documents were personally examined, and “it

  was a broadside invocation of privilege, which failed to designate with particularity




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  the specific documents or file to which the claim of privilege applied.” Id. at 226.2

  The PSC is not invoking the executive privilege here.

        The deficient invocation of privilege in Weinstein v. Brisman is also

  distinguishable. 2020 WL 1485960, at *7 (D.N.J. Mar. 26, 2020). There, the plaintiff

  and the defendant, who were siblings, jointly served subpoenas on two non-parties

  for the production of documents concerning the financial and operational affairs of

  private foundations established by the parties’ late mother. Both non-parties served

  as directors of the foundations, and one served as legal counsel for the parties’

  mother for some time. In response to the subpoenas, the non-parties simply stated

  that the parties sought “production of privilege[d] communications between [their

  mother] and the Nonparties as her legal counsel.” Id. at *4. The court rejected the

  claim of privilege because the nonparties had “not described the nature of the

  documents subject to any putative privilege with sufficient specificity” to allow the

  court to quash all 56 categories of documents sought by the subpoena. Indeed, the

  non-parties in Weinstein did not describe the nature of the documents at all.

        In contrast, the PSC specifically described the nature of the communications

  subject to privilege: As the PSC explained in its motion, Mr. Conlan approached the

  LTL TCC regarding his proposal that his company Legacy would attempt to acquire



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    Likewise, the other case cited by Defendants, Dawson v. Ocean Twp., concerned
  the governmental privilege. 2011 WL 890692, *17 (D.N.J. Mar. 14, 2011).

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  Defendants’ talc liability and then potentially negotiate a settlement with talc

  claimants. Beasley Allen represented a member of the LTL TCC and Mr. Birchfield,

  as the Court is aware, is an attorney at Beasley Allen. Mr. Conlan and the TCC were

  not “aligned” as Defendants constantly suggest, but were discussing a restructuring

  model being offered by Mr. Conlan’s company Legacy Liability Solutions to

  Defendants to address the resolution of talc claims in preparation for and in

  furtherance of mediation. Any communications or documents that passed from the

  LTL TCC (including communications from Beasley Allen or Mr. Birchfield or

  others acting in their capacities as representatives of one of the TCC members) to

  Mr. Conlan or KCIC regarding the potential resolution of talc claims are protected

  under New Jersey’s broad mediation privilege.3 Those communications were

  exchanged in the LTL bankruptcy for the purpose of developing a position in

  mediation, and relate to the assessment of the injuries caused by talcum powder

  products. They may reveal the confidential health information of both MDL

  plaintiffs and individuals who are not parties to this litigation.

        Despite Defendants’ insistence that the PSC produce a privilege log, such is

  not required. And the cases cited by Defendants are inapposite. In each, the court


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    Defendants’ contention that they have not been in mediation with talc claimants is
  false. There were robust mediations in both of the LTL bankruptcies and the Imerys
  bankruptcy. During the second LTL bankruptcy, the court-appointed mediators
  were actively engaging the parties for purposes of settlement and there was a
  mediation order in place.

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  ordered the subpoenaed individual claiming privilege to produce a privilege log. See

  V. Mane Fils, S.A. v. Int’l Flavors & Fragrances, Inc., 2008 WL 3887621, at *4

  (D.N.J. Aug. 20, 2008) (ordering subpoenaed non-party to produce privilege log);

  Weinstein, 2020 WL 1485960, at *7 (D.N.J. Mar. 26, 2020) (same); see also Wei v.

  Bodner, 127 F.R.D. 91, 96 (D.N.J. 1989) (ruling on party’s motion to compel and

  ordering subpoenaed party to produce privilege log); Dawson, 2011 WL 890692,

  *23 (same); Sandoz, Inc. v. United Therapeutics Corp., 2021 WL 287872, at *3

  (D.N.J. Jan. 28, 2021) (ordering subpoenaed party to produce privilege log).

        Furthermore, communications or documents that passed between Mr. Conlan

  or his company Legacy and KCIC may also implicate the LTL TCC’s confidential,

  privileged communications (assessments of the value of the cases, etc.). And of

  course because the PSC and LTL TCC do not have direct access to any direct written

  communications or document exchanges between Mr. Conlan or Legacy and KCIC,

  it is not possible for the PSC to provide a privilege log or any further specificity.

        All of the subpoenaed information is protected by New Jersey’s broad

  mediation privilege. Defendants seemingly argue that settlement communications

  are discoverable because Federal Rule of Evidence 408 is not offended. Not so. The

  confidentiality of settlement-related communications and documents prepared in

  furtherance of mediation do not depend on the applicability of Rule 408. New Jersey

  law recognizes that mediation-related communications are privileged and “shall not


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  be subject to discovery or admissible in evidence in a proceeding unless waived.”

  N.J. Stat. Ann. 2A:23C–4. Courts in New Jersey have consistently upheld the

  mediation privilege absent a “knowing and express” waiver. See CIBA Speciality

  Chems. Corp. v. Twp. of Denver, 2021 WL 7100981, at *11 (N.J. App. Div. 2021),

  cert. denied, 246 N.J. 440 (2021); Straus Assoc. II v. Berman, 2017 WL 4781699, at

  *4 (N.J. App. Div. Oct. 24, 2017) (“Moreover, because mediation communications

  are privileged, and plaintiffs have not expressly waived such privilege, [defendant]’s

  argumnent that information could be provided through an evidentiary hearing is

  unavailing.”).

        The scope of the privilege is quite broad: a mediation communication includes

  “any statement, whether verbal or nonverbal . . . made for purposes of considering,

  conducting, participating in, initiating, continuing, or reconvening a mediation or

  retaining a mediator.” Napolitano v. Corbishley, 2021 WL 3486901, at *2 (D.N.J.

  Aug. 9, 2021) (citing Kernaham v. Home Warranty Adm’r of Fla., Inc., 236 N.J. 301

  (2019)); Sandoz, Inc., 2021 WL 5122069, at *2 (D.N.J. Nov. 2, 2021) (stating that

  documents prepared for or in furtherance of a mediation are privileged); see also

  N.J. R. Evid. 519. That is, communications made even for the purpose of

  “considering” mediation or “retaining” a mediator are protected. And here, the

  parties were actively discussing possible resolutions of the claims in the LTL

  bankruptcy proceeding with a mediation order and court-appointed mediators in


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  place. See Exhibit A, LTL Management LLC Bankruptcy Amended Order

  Appointing Co-Mediators and Establishing Mediation Protocol.

        It is also well settled in New Jersey that “confidentiality is a fundamental

  ingredient of the settlement process.” Lehr v. Afflitto, 382 N.J. Super. 376, 394 (App.

  Div. 2006) (citations omitted); see also Walsh Secs., Inc. v. Cristo Prop. Mgmt., Ltd.,

  2010 WL 2680562, at *2 (D.N.J. June 30, 2010) (“the confidentiality of a settlement

  agreement is important because it protects litigation strategy and promotes more

  settlements”). Courts in this district have emphasized the importance of

  confidentiality during court-sponsored settlement proceedings especially. See In Re

  Paulsboro Derailment Cases, 2015 WL 12835672, at *2 (“It is well recognized that

  confidentiality in court-sponsored settlement processes is essential in order to foster

  settlement and preserve judicial resources.”). Based on this public policy, as

  Defendants’ cited authority explains, parties seeking confidential settlement

  communications “must make a ‘heightened, more particularized showing of

  relevance.’” Berardino v. Prestige Mgmt. Servs., Inc., 2017 WL 9690965, at *5

  (quoting Ford Motor Co. v. Edgewood Props., Inc., 257 F.R.D. 418, 423 (D.N.J.

  2009)).

        In Berardino v. Prestige Management Services, Inc., Berardino sued his

  former employer, Prestige, for breach of contract following his termination, and

  Prestige asserted a counter-claim against the former employee for fraud. 2017 WL


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9690965, at *5 (D.N.J. Dec. 8, 2017). Berardino subpoenaed a non-party, also a

former employee that previously sued Prestige for wrongful termination, to produce

the confidential settlement agreement that resolved the non-party’s case against

Prestige. In denying Prestige’s motion to quash, the court carefully analyzed the

public policy favoring the confidentiality of settlements against Berardino’s need for

the agreement. The court concluded that Berardino established a particularized need

strong enough to overcome Prestige’s interest in maintaining confidentiality because

Prestige relied in part on testimony and emails of the non-party to prove its fraud

claim against the defendant. According to the court, the settlement agreement could

contain obligations, rights, or benefits that factor into the non-party’s bias in

testifying for Prestige or against Berardino.

      Unlike Berardino, Defendants have not shown any legitimate need, much less

a “heightened, more particularized” need, to overcome the policy of protecting

communications made by counsel representatives of TCC members in furtherance

of mediation. Even if they could make this threshold showing, the severity of harm

resulting from disclosure would still warrant quashing the subpoena. The

subpoenaed information implicates protected communications related to the

potential resolution of claims that were made outside the MDL in the bankruptcy

proceeding.




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   2. Defendants failed to demonstrate a substantial basis that the subpoena is
      reasonably calculated to lead to admissible evidence in support of its
      pending motion for disqualification.

      “Discovery in aid of a motion for disqualification is appropriate when ‘the

party seeking discovery is able to demonstrate in good faith, pursuant to Rule 26, a

substantial basis that the discovery being sought appears reasonably calculated to

lead to the discovery of admissible evidence in support of a pending or contemplated

motion for disqualification.’” Doe v. Cabrera, 139 F. Supp. 3d 472, 478 (D.D.C.

2015) (quoting Cobell v. Norton, 237 F. Supp. 2d 71, 101 n.26 (D.D.C. 2003)).

      Defendants have not and cannot make this showing. Their theory of relevance,

“to determine the extent to which its confidences have been improperly shared,” is

premised entirely on conjecture. ECF No. 28920 at 9. Defendants have provided no

evidence or basis for alleging that their confidences were disclosed or that

discovering the confidential communications made in furtherance of mediation is

reasonably calculated to lead to admissible evidence. Nor do they point to a fact,

theory, strategy, or piece of confidential information that was purportedly shared.

Instead, they conclusively assert that documents relating to KCIC’s work for Legacy

and Mr. Conlan, and its communications with Legacy, Mr. Conlan, Mr. Birchfield,

and Beasley Allen, are “relevant to whether these proceedings can fairly proceed

with J&J’s confidential information in the hands of its litigation adversaries.” Id.




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The Court “is not obliged to find relevance of any speculative defense.” Gilmore v.

Jones, 2022 WL 267422, at *2 (D.N.J. Jan. 28, 2022) (emphasis supplied).

      Importantly, Defendants’ allegations have been affirmatively denied in sworn

declarations submitted to this Court under penalty of perjury. See ECF No. 28826-2

Decl. of Andy Birchfield, Jr., ESQ. (“Mr. Conlan has never shared privileged or

confidential information he obtained from any of his former clients (including J&J)

with me or my firm Beasley Allen.”); ECF No. 28826-4 at 2 Decl. of John J.

Gasparovic (“At no time has James Conlan disclosed any of J&J’s confidential or

privileged information to me or Legacy. Legacy has never possessed and therefore

never could disclose to Mr. Birchfield or any member of his firm, Beasley Allen,

any confidential information belonging to J&J.”); ECF No. 28826-3 Decl. of James

F. Conlan (“I have never disclosed to Mr. Birchfield or any member of his firm,

Beasley Allen, any confidential information belonging to J&J—nor that of any other

client from my previous years of practice. Moreover, neither Legacy nor I have any

J&J privileged or confidential information that is required for Legacy to

consensually transact with J&J to solve J&J’s current and future talc liability (with

finality); the Legacy model applies similarly to all solvent mass tort defendants.”).

Defendants’ own cases recognize that sworn affidavits and testimony generally

provide a sufficient record for the court to rule. See United States v. Philip Morris,

Inc., 312 F. Supp. 2d 27, 34–35 (D.D.C. 2004) (explaining that “as long as the trial


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court concludes that there will be an adequate record for appellate review, whether

in the form of affidavits, documents, or submissions in camera, the court may in its

discretion decide whether discovery is either warranted or inappropriate.”).

      Defendants misrepresent the holding of Cobell v. Norton on this point. The

court did not find “that discovery is appropriate to gather ‘admissible evidence in

support of a pending or contemplated motion for disqualification’ of presiding

judge,” as Defendants represent. ECF No. 28920 at 10 (citing Cobell, 237 F. Supp.

2d at 101). Rather, after analyzing other cases addressing discovery of judicial

officers, the court concluded that “[e]ven if [it] were to agree that discovery of

judicial officers might be warranted in an appropriate case, the present case [was]

manifestly not one of them.” Cobell, 237 F. Supp. 2d at 101–102. According to the

court, permitting discovery on judicial officers is an “extreme step” it was not willing

to take.

                                      CONCLUSION

      The information Defendants seek pertaining to Mr. Conlan’s proposed

acquisition of Defendants’ talc liabilities and the potential settlement of talc

liabilities have no relevance in the MDL. Defendants cannot refute this. Instead, they

make vague assertions that there might be evidence that Defendants’ “confidences”

were disclosed by Mr. Conlan and that this in turn is relevant to whether this MDL

proceeding is “fair.” This is speculative at best, specious at worst, and certainly not


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sufficient to justify a fishing expedition into confidential communications

exchanged outside the MDL in furtherance of mediation.

      For these reasons, the PSC respectfully requests that this Court quash

Defendants’ subpoena, or in the alternative, issue a protective order relieving KCIC

of any obligation to comply with the subpoena.



Dated: January 29, 2024                      Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 29, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.



                                              Respectfully submitted,


                                              /s/ Michelle A. Parfitt
                                              Michelle Parfitt




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